      Case 2:12-cr-00322-JAM Document 110 Filed 03/19/15 Page 1 of 1

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 4
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 5 HOVIK MKRTCHIAN
 6
 7                                UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
      THE UNITED STATES OF AMERICA,                   ) CASE NO.: 2:12-cr-0322MCE
10                                                    )
                        Plaintiff,                    )
11                                                    ) ORDER PERMITTING TRAVEL FOR
      v.                                              ) DEFENDANT HOVIK MKRTCHIAN
12                                                    )
      HOVIK MKRTCHIAN,                                )
13                                                    )
                                                      )
14                     Defendant.                     )
                                                      )
15                                                    )
                                                      )
16
17          Good cause having been shown; it is hereby ordered that defendant Hovik Mkrtchian be
18 given permission to travel internationally for his honeymoon after his wedding on September 12,
19
     2015 for the duration of approximately 7 days.
20
            IT IS SO ORDERED.
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     Dated: March 19, 2015
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                                                      1
29                                   ORDER PERMITTING TRAVEL
30
